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          6
                 Attorneys for Movant,
          7      U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE IGLOO SERIES
                 III TRUST, its successors and assigns
          8
          9
                                        UNITED STATES BANKRUPTCY COURT
         10
                              EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
         11
         12      In Re:                                       )   CASE NO.: 15-11835
                                                              )
         13      James Floyd Cannon and Jamie Darlene Cannon, )   DCN: MRG-1
         14                                                   )
                        Debtors.                              )   CHAPTER 7
         15                                                   )
                                                              )   MOTION FOR RELIEF FROM
         16                                                   )   THE AUTOMATIC STAY;
         17                                                   )   MEMORANDUM OF POINTS &
                                                              )   AUTHORITIES IN SUPPORT
         18                                                   )   THEREOF
                                                              )
         19                                                   )   DATE: 11/7/18
         20                                                   )   TIME: 9:45 AM
                                                              )   Location: 510 19th Street, Bakersfield,
         21                                                   )   CA
                                                              )
         22
                                                              )   Honorable Fredrick E. Clement
         23                                                   )

         24
                 COMES NOW, Movant U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE
         25
         26      OF THE IGLOO SERIES III TRUST (“Movant”) and submits the following in support of its

         27      Motion for Relief From Stay.
         28

                                                           1
                      MOTION FOR RELIEF FROM THE AUTOMATIC STAY; MEMORANDUM OF POINTS AND
                                          AUTHORITIES IN SUPPORT THEREOF
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          1                                          I.      INTRODUCTION
          2             U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE IGLOO
          3      SERIES III TRUST submits this Motion for Relief From Stay (“Motion”) pursuant to 11
          4      U.S.C. Section 362(d)(1) for authority to exercise any and all of its rights and remedies under
          5      its loan documents and applicable law in connection with real property commonly known as
          6      5820 FERNSIDE CT, BAKERSFIELD, CA 93313 (the “Property”).
          7             The Debtors, James Floyd Cannon and Jamie Darlene Cannon (heirinafter collectively,
          8      “Debtor”) filed a Chapter 13 case on May 6, 2015. Thereafter the case was converted to a
          9
                 Chapter 7. As is shown below, Movant is not adequately protected due to the contractual
         10
                 default under its loan. Movant’s loan is due for the March 1, 2016 payment and all subsequent
         11
         12      payments.

         13                                                          II.
         14                                           STATEMENT OF FACTS
         15             The Borrower executed and delivered to, Wachovia Mortgage, FSB, a Federal Savings
         16      Bank, that certain Fixed Rate Mortgage Note dated February 26, 2008, in the original principal
         17      amount of $225,000.00 (the “Note”). Movant is the current owner of the Note and is in
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                 possession of the original Note. Concurrently therewith, and as security for the Note,
         19
                 Borrower executed and delivered to Wachovia Mortgage FSB, a Deed of Trust which was
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                 recorded in the Official Records of Kern County, California as Document No.: 029837 on
         21
                 February 28, 2008 (the “Deed of Trust”), and which encumbers the Property. Thereafter, all
         22
                 interests in the Deed of Trust were assigned to Movant by Assignment of Deed of Trust.
         23
                        Movant’s loan is post-petition due for the March 1, 2016, payment and all
         24
                 subsequent payments as follows:
         25
                        03/01/16-06/01/17       16 payments @ $1,662.72                =     $26,603.52
         26
                        07/01/17-12/01/17      6 payments @ $1,819.18                  =     $10,915.08
         27
                        01/01/18-07/01/18      7 payments @ $2,118.67                  =     $14,830.69
         28
                                               Late Charge                             =     $67.46
                                                                 2
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          1                                     Fees                                      =     $1,986.53
          2                                     Foreclosure Fees                          =     $427.50
          3                                     Bankruptcy Fees                           =     $550.00
          4                                     Property Inspection Fees                  =     $25.00
          5                       06/01/18      MFR Attorney Fees                         =     $1,081.00
          6                     Total Post-Petition Default:                                      =      $56,486.78
          7             The total amount owed to Movant is no less than $220,295.32. Pursuant to the Deed of
          8      Trust, Movant is entitled to take the necessary steps to protect its interest in the Property,
          9      including advancing taxes, insurance, foreclosure fees and costs and attorney’s fees and costs,
         10
                 and to assess the costs plus interest, to the balance due under the Loan.
         11
                        Based on the foregoing, Movant seeks relief from stay under 11 U.S.C. 362(d)(1)
         12
                 herein to proceed with its non-bankruptcy remedies including, but not limited to, foreclosure
         13
                 upon, obtaining possession of and selling the Property.
         14
                                                                 III.
         15
                                                           DISCUSSION
         16
                            A. Cause Exists to Grant Relief Pursuant to Section 362(d)(1); Lack of
         17
                                Adequate Protection
         18
         19             Movant submits that cause exists to grant relief under Section 362(d)(1). Bankruptcy
         20      Code Section 362(d)(1) provides that a party may seek relief from stay based upon “cause,”
         21      including lack of adequate protection. Adequate protection can be offered in the form of cash
         22      or periodic payments or the existence of a sufficient equity cushion.
         23             Movant submits that adequate protection in this case requires normal and periodic cash
         24      payments to Movant, as called for by the Note. Debtor is in default for failing to tender
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                 twenty-nine (29) monthly mortgage payments. A continuing failure to maintain required
         26
                 regular payments has been held, in and of itself, to constitute sufficient cause for granting a
         27
                 motion to modify the stay. (In re Trident Corp., 19 BR 956,958 (Bankr. E.D. Pa. 1982), aff’d
         28
                 22 BR 491 (Bankr. E.D. Pa. 1982 (citing In re Hinkle, 14 BR 202, 204 (Bankr. E.D. Pa. 1981);
                                                                   3
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          1      see also In re Jones, 189 BR 13, 15 (Bank. E.D. Okla 1995) (citing Hinkle, 14 BR at 204)).
          2      The failure to tender any mortgage payments is sufficient cause to terminate the automatic
          3      stay. As a result, Movant is not adequately protected. In re Mellor, 734 F.2d 1396, 1400 (9th
          4      Cir. 1984). Based on the foregoing, cause exists to grant Movant’s request to terminate the
          5      automatic stay.
          6
                                                           IV. CONCLUSION
          7
                    Based on the foregoing, Movant requests that the Court grant the Motion authorizing
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                 Movant to exercise its rights and remedies under applicable law and the loan documents with
          9
                 respect to the Property and all related assets as identified in the Deed of Trust; that Movant be
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                 awarded its attorney’s fees and costs and that the Court waive the 14 day stay pursuant to
         11
                 Bankruptcy Rule 4001(a) (3); and for such other and further relief as the Court deems just and
         12
                 proper.
         13
         14
                 Dated: 09/18/2018                             LAW OFFICES OF MICHELLE GHIDOTTI
         15
         16
                                                               /s/ Krsitin Zilberstein
         17                                                    Krsitin Zilberstein, Esq.
                                                               Attorney for Movant, U.S. BANK TRUST
         18
                                                               NATIONAL ASSOCIATION, AS TRUSTEE OF
         19                                                    THE IGLOO SERIES III TRUST

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                       MOTION FOR RELIEF FROM THE AUTOMATIC STAY; MEMORANDUM OF POINTS AND
                                           AUTHORITIES IN SUPPORT THEREOF
